Case 1:18-cr-00224-AJN Document 207 Filed 02/06/20 Page 1 of 1

 

 

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SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

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“ye prt TOT ony
18-cr-224 (AJN)
Ali Sadr Hashemi Nejad,
ORDER
Defendant.

 

 

ALISON J. NATHAN, District Judge:
Due to a change in the Court’s calendar, the final pretrial conference scheduled for 2 p.m.
on February 10, 2020 is hereby adjourned to 4 p.m. on February 10, 2020.

SO ORDERED.

Dated: February 'y , 2020
New York, New York

   

 

\J ANSON J. NATHAN
United States District Judge

 

 
